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Attorneys for Defendant Merck & Co., Inc.

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUSIANA

In re: Vioxx ®

PRODUCTS LIABILITY
LITIGATION

This document relates to:
Ann M.G. Albright, et al.,

v.
MDL Docket No. 1657

Merck & Co., Inc. SECTION L

Only with regard to: CIVIL ACTION NO. 2:06-cv-02204
Alfreda Alexander, Rita Bieznieks, JUDGE FALLON

Judy Billing and Leroy Billing,

Individually and as Husband and MAGISTRATE JUDGE KNOWLES

Wife, Josephine Jones and Ulysses
Jones, Individually and as Husband

and Wife, Paula McIntosh-King and
Robert King, Individually and as STIPULATION OF DISMISSAL

Husband and Wife, Marlene WITH PREJUDICE AS TO ALL DEFENDANTS

Morrison and Glenn Morrison,
Individually and as Husband and
Wife, Judith Odom and Leon D.
Odom, Individually and as Husband
and Wife, Dolores Palmer, Helen
Pertee, Sarah Roberts, Sabina Sacco,
Neva Sands, Roberta Soprano,
Arlene Staufenberger, Helen Tibus,
and Betty A. Williams

Albright Stip of Dismissal
Case 2:05-md-01657-EEF-DEK Document 16343 Filed 10/08/08 Page 2 of 3

Pursuant to Fed. R. Civ. Pro. 41 (a), the undersigned counsel hereby stipulate that
all claims of plaintiffs Alfreda Alexander, Rita Bieznieks, Judy Billing, Leroy Billing, Josephine
Jones, Ulysses Jones, Paula McIntosh-King, Robert King, Marlene Morrison, Glenn Morrison,
Judith Odom, Leon D. Odom, Dolores Palmer, Helen Pertee, Sarah Roberts, Sabina Sacco, Neva
Sands, Roberta Soprano, Arlene Staufenberger, Helen Tibus, and Betty A. Williams against
defendant Merck & Co., Inc., be dismissed in their entirety with prejudice, with each party to

bear its own costs.

JY, Ww Orutta, A. thao

Bfan A. Goldstein, Esq. Phillip A. Wittmann

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Counsel for Plaintiffs
Counsel for Defendant Merck & Co., Inc

Dated: 4 - LT - ot

Dated: 10 [5 (ox

Albright Stip of Dismissal
Case 2:05-md-01657-EEF-DEK Document 16343 Filed 10/08/08 Page 3 of 3

CERTIFICATE OF SERVICE

I hereby certify that the above and foregoing Stipulation of Dismissal With

Prejudice as to All Defendants has been served on Liaison Counsel, Russ Herman and Phillip

Wittmann, by U.S. Mail and e-mail or by hand delivery and e-mail and upon all parties by

electronically uploading the same to LexisNexis File & Serve Advanced in accordance with Pre-

Trial Order No. 8B, and that the foregoing was electronically filed with the Clerk of Court of the

United States District Court for the Eastern District of Louisiana by using the CM/ECF system

which will send a Notice of Electronic Filing in accord with the procedures established in MDL

1657, on this 8th day of October, 2008.

/s/ Dorothy H. Wimberly
Dorothy H. Wimberly, 18509
STONE PIGMAN WALTHER
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Defendants’ Liaison Counsel

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